Case 2:04-cr-20100-.]PI\/| Document 218 Filed 08/18/05 Page 1 of 3 Page|D 320

IN THE UNITED STATES DISTRICT COURT.
FOR THE WESTERN DISTRICT OF TENNESSE]':§"“ED BY ~»~ -.._. D.C,

 

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UNITED sTATEs oF AMERICA ) aE§;§l/l%:§l§€i:
Plaintiff, § l
vs § CASE No. 2:04CR20100_M1
KYBRIC DoUGLAs l
Defendant. ):

 

ORDER TO SURRENDER

 

The defendant, Kybric Douglas, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Forrest City,
P.O. Box 7000, Forrest City, AR 72335 by 2:00 p.m. on WEDNESDAY, AUGUST 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Offlce of the Clerk, Federal Oft`lce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the 17 day of August, 2005.

QmQ-OQQ

JO PHIPPS McCALLA
U TED S'I`ATES DISTRICT JUDGE

This document entered on the docket sheetgtn§o§mplianca w
with Rule 55 and/or 32{b) FHCrP on é’f @

 

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if l fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Depnty Clerk Defendant

     
 

  

UNITS,ED`ATESDTISRIC COUR - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 218 in
case 2:04-CR-20100 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

